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                        Exhibit C
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10    Attorneys for Plaintiff and the Class
11
                              UNITED STATES DISTRICT COURT
12                           CENTRAL DISTRICT OF CALIFORNIA
13     Erica Reiners, individually and on
       behalf of all others similarly situated,        Case No. 2:20-cv-06587-SB-ADS
14
                                    Plaintiff,          DECLARATION OF TAYLOR T.
15                                                      SMITH IN SUPPORT OF
       v.                                               STIPULATION ON MOTION TO
16                                                      COMPEL COMPLIANCE WITH
       Chou Team Realty, LLC d/b/a                      SUBPOENA
17     MonsterLoans, a California limited
       liability company, Lend Tech Loans,
18     Inc., a California corporation, Sean             [Discovery Document: Referred to
       Cowell, an individual, Thomas Chou,
19     an individual, Mikael Van Loon, an               Magistrate Judge Autumn D. Spaeth]
       individual, Jawad Nesheiwat, an
20     individual, and Eduardo Martinez, an             Date: December 8, 2021
       individual,                                      Time: 10:00 a.m.
21                                                      Place: Courtroom 6B, 6th Floor
                                    Defendants.         Complaint filed: July 23, 2020
22
23
            I, Taylor T. Smith, declare as follows:
24
               1.    I am an attorney with the law firm Woodrow & Peluso, LLC and
25
      counsel of record for Plaintiff Erica Reiners (“Plaintiff” or “Reiners”).
26
               2.    On July 23, 2020, Plaintiff filed the instant action alleging wide-scale
27
      violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681b, et seq. (“FCRA” or
28
                               DECLARATION ISO STIPULATION ON MOTION TO COMPEL
                                                      -1-
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  1   “Act”).
  2         3.       In discovery, it was revealed that Defendant Nesheiwat possessed
  3   ownership interests in several student loan consolidation entities through an entity
  4   known as Sales Speek, Inc. (“Sales Speek”).
  5         4.       Nesheiwat is the president and registered agent of Sales Speek. (See
  6   Sales Speek Articles of Incorporation, attached hereto as Ex. 1.) Sales Speek’s
  7   principal place of business located at 26631 Cuenca Dr, Mission Viejo, California
  8   92691. (Id.)
  9         5.       On June 15, 2021, Plaintiff issued a subpoena to produce documents,
10    information, or objects or to permit inspection of premises in a civil action directed
11    to Sales Speek, Inc. Despite numerous attempts to serve Sales Speek, Plaintiff was
12    unable to effectuate service.
13          6.       Plaintiff’s counsel contacted Nesheiwat’s counsel, Peter Lepiscopo, to
14    request that he accept service of the subpoena on behalf of his client. Nesheiwat and
15    his counsel refused to accept service.
16          7.       On August 9, 2021, having been unable to serve the initial subpoena,
17    Plaintiff issued a second subpoena to produce documents, information, or objects or
18    to permit inspection of premises in a civil action directed to third-party, Sales Speek,
19    which specified a response date of September 9, 2021.
20          8.       On September 9, 2021, Nesheiwat’s counsel sent Plaintiff a letter on
21    behalf of Sales Speek. The letter purported to “return” the subpoena without action
22    because, supposedly, Sales Speek “does not exist.”
23          9.       On September 17, 2021, Plaintiff’s counsel served a discovery dispute
24    letter, which requested that Sales Speek provide a complete response to the subpoena
25    or provide availability to confer regarding a motion to compel.
26          10.      On September 23, 2021, Nesheiwat’s counsel sent a second letter that
27    again claimed Sales Speek did not exist and stated that Plaintiff has “provided no
28
                              DECLARATION ISO STIPULATION ON MOTION TO COMPEL
                                                    -2-
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  1   evidence that Sales Speek ever conducted any business in California or elsewhere.”
  2         11.   On September 23, 2021, Plaintiff’s counsel responded by directing
  3   Nesheiwat’s counsel to the previously produced contracts that Nesheiwat signed on
  4   behalf of Sales Speek.
  5         12.   Despite additional follow up requests, Nesheiwat’s counsel has refused
  6   to confer regarding the subpoena. Sales Speek has not provided any response or
  7   served any objections to the subpoena.
  8         I declare under penalty of perjury under the laws of the United States of
  9   America that the foregoing is true and correct. Executed on November 8, 2021, in
10    Denver, Colorado.
11
12                                     By:     /s/ Taylor T. Smith
13                                            Taylor T. Smith (admitted pro hac vice)
14                                            tsmith@woodrowpeluso.com
                                              WOODROW & PELUSO, LLC
15                                            3900 East Mexico Avenue, Suite 300
16                                            Denver, Colorado 80210
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                            DECLARATION ISO STIPULATION ON MOTION TO COMPEL
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                         Exhibit 1
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